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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                          §   Chapter 11
                                                §
ALEXANDER E. JONES                              §   Case No. 22-33553
                                                §
         Debtor.                                §


                                    NOTICE OF HEARING

       PLEASE TAKE NOTICE that a hearing has been set in the above-referenced case for May
21, 2024 at 1:00 p.m. (prevailing Central Time) in the United States Bankruptcy Court for the
Southern District of Texas before the Honorable Christopher M. Lopez, Courtroom 401, 515 Rusk,
Houston, TX 77002, regarding the following:

         •   Debtor’s Motion for Order (I) Authorizing Sale of Real Property FM 621 Free and
             Clear of all Liens, Claims, And Encumbrances and (II) Granting Related Relief [Dkt.
             No. 664]

         PLEASE TAKE FURTHER NOTICE that you may participate in the hearing either in
person or via audio and video connection. Audio communication will be by the use of the Court’s
dial-in facility. You may access the facility at (832) 917-1510. Once connected, you will be asked
to enter the conference room number. Judge Lopez’s conference room number is 590153. Video
communication will be by use of the GoToMeeting platform. Connect via the free GoToMeeting
application or click the link on Judge Lopez’s homepage. The meeting code is “JudgeLopez”.
Click the settings icon in the upper right corner and enter your name under the person information
setting.

       PLEASE TAKE FURTHER NOTICE parties are encouraged to review the Court’s
procedures for telephonic appearances located on the Court’s website at: COURT PROCEDURES
(uscourts.gov).




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        PLEASE TAKE FURTHER NOTICE that hearing appearances must be made
electronically in advance of the hearing. To make your appearance, click the “Electronic
Appearance” link on Judge Lopez’s homepage. Select the case name, complete the required fields
and click “Submit” to complete your appearance.

Dated: May 14, 2024.                     Respectfully submitted,


                                           CROWE & DUNLEVY, P.C.

                                           By: /s/ Vickie L. Driver
                                           Vickie L. Driver
                                           State Bar No. 24026886
                                           Christina W. Stephenson
                                           State Bar No. 24049535
                                           2525 McKinnon St., Suite 425
                                           Dallas, TX 75201
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                                           -and-

                                           Shelby A. Jordan
                                           State Bar No. 11016700
                                           S.D. No. 2195
                                           Antonio Ortiz
                                           State Bar No. 24074839
                                           S.D. No. 1127322
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                                           ATTORNEYS FOR ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was served upon all
parties registered to receive notice via the Court’s CM/ECF noticing system on May 14, 2024.


                                                     /s/ Vickie L. Driver
                                                     Vickie L. Driver




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